Case 2:09-cv-06293-PSG-JEM Document 213 Filed 12/22/09 Page 1 of 2 Page ID #:994



   1
   2
   3
   4                                                         E-FILED 12-22-09
   5
   6
   7
   8
   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11
  12   METEORA, LLC,                             Case No. CV 09-6293 PSG (JEMx)
  13               Plaintiff,
  14   vs.                                       [PROPOSED] ORDER GRANTING
       MARSHAL8E6, INC., et al.                  STIPULATED MOTION FOR
  15
                                                 DISMISSAL WITH PREJUDICE
  16               Defendants and
                   Counterclaimants.
                                                 [Local Rule 8-3]
  17
  18                                             Complaint Filed: August 28, 2009
  19
  20
  21                    ORDER OF DISMISSAL WITH PREJUDICE

  22               CAME ON THIS DAY for consideration of the Stipulated Motion for

  23   Dismissal With Prejudice of all claims and counterclaims asserted between

  24   plaintiff, Meteora, LLC, and defendant, Barracuda Networks, Inc., in this case, and

  25   the Court being of the opinion that said motion should be GRANTED, it is hereby

  26               ORDERED, ADJUDGED AND DECREED that all claims and

  27   counterclaims asserted in this suit between plaintiff, Meteora, LLC, and defendant,

  28   Barracuda Networks, Inc., are hereby dismissed with prejudice, subject to the terms
Case 2:09-cv-06293-PSG-JEM Document 213 Filed 12/22/09 Page 2 of 2 Page ID #:995



   1   of a confidential agreement entitled “PATENTS IN SUIT SETTLEMENT
   2   AGREEMENT” and dated December 14, 2009.
   3               It is further ORDERED that all attorneys’ fees and costs are to be
   4   borne by the party that incurred them.
   5
   6         IT IS SO ORDERED.
   7
   8
       DATED: __________________
                12/22/09                         PHILIP S. GUTIERREZ
                                                _________________________________
   9
                                                Honorable Philip S. Gutierrez
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
